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                       UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                       §       CASE NO.
                                             §
BENDCO, INC.                                 §       18-30849 (DRJ)
                                             §       (Chapter 11)
       DEBTOR                                §


              NOTICE OF WITHDRAWAL OF THE MOTION OF THE
          UNITED STATES TRUSTEE TO APPOINT CHAPTER 11 TRUSTEE,
            OR IN THE ALTERNATIVE, TO DISMISS CASE, OR IN THE
               ALTERNATIVE, TO CONVERT CASE TO CHAPTER 7

       COMES NOW the Acting United States Trustee, by and through counsel of record, and

hereby withdraws the Motion of the United States Trustee to Appoint Chapter 11 Trustee, or in

the Alternative, to Dismiss Case, or in the Alternative, to Convert Case to Chapter 7 [Dkt. No. 35]

because the issue regarding a lack of insurance by the Debtor has been resolved.

Dated: June 15, 2018                  Respectfully Submitted,

                                      HENRY G. HOBBS, JR.
                                      ACTING UNITED STATES TRUSTEE
                                      REGION 7, SOUTHERN and WESTERN
                                      DISTRICTS OF TEXAS

                                      By:    /s/ Hector Duran
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